Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 1 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 2 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 3 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 4 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 5 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 6 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 7 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 8 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 9 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 10 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 11 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 12 of 13
Case 2:02-cr-00104-MR   Document 247   Filed 08/16/06   Page 13 of 13
